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             UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

YPSILANTI ART THEATRE CORP.,
d/b/a Deja Vu Showgirls Ypsilanti; and
M.I.C. LIMITED INC.,


         Plaintiffs,                              Case No.:

v.                                                Hon.:

CITY OF YPSILANTI; CITY OF YPSILANTI              Demand for Jury Trial
PLANNING COMMISSION; ANDY
AAMODT, in his Official Capacity as the
City Planner; and JOE MEYERS, in his Official
Capacity as the City of Ypsilanti Director
of Economic Development,

         Defendants.


 PLAINTIFFS’ COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF, AND
                    DECLARATORY RELIEF



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Ypsilanti Art Theatre Corp., and
M.I.C. Limited Inc.
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      NOW COMES Plaintiffs, Ypsilanti Art Theatre Corp. d/b/a Deja Vu Showgirls

Ypsilanti and M.I.C. Limited, Inc., by and through their undersigned counsel, and

hereby state for their complaint, the following:

                                  INTRODUCTION

      1.     This is a civil action wherein Plaintiffs pray for a declaratory judgment,

money damages, attorneys’ fees and costs, and injunctive relief to remedy and enjoin

ongoing and future actions under color of state law to deprive Plaintiffs of their rights,

privileges, and immunities secured to them by the Constitution of the United States.

Defendants have engaged in a course of action with the design and intent to delay

and prevent Plaintiffs from engaging in First Amendment activity, which this suit

seeks to remedy.

      2.     Plaintiff M.I.C. Limited, Inc. (“MIC”) owns real property located at 29-

33 N. Washington Street in Ypsilanti, Michigan (the “Property” and sometimes the

“Premises”), which it leases to Plaintiff Ypsilanti Art Theatre Corp. d/b/a Deja Vu

Showgirls (“YAT”). Thereat, YAT operated an adult-oriented business on the

Property. YAT’s business has been continuously operated as a lawful nonconforming

use since rendered nonconforming by zoning changed in the mid-1990s. Part of the

adult-oriented business YAT operated on the Property, Deja Vu Showgirls Ypsilanti

(“Showgirls”), offers constitutionally protected live female performance dance

entertainment to the consenting adult public. Another part of the adult-oriented

business YAT operated on the Property, Deja Vu Love Boutique (“Boutique”), used to

provide an assortment of adult-oriented products to the consenting adult public. In

March of 2019, YAT undertook to repair a leaking pipe in the basement bathroom. To

do so, YAT’s contractor had to remove the existing shower, which it broke in the

process. A City inspector noticed the unpermitted repairs and issued a stop-work

order and accused YAT of expanding its non-conforming adult regulated use by

building in the basement and installing partitions in the Boutique area. YAT’s


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contractors pulled permits, finished the bathroom repairs, and reopened until March

23, 2020, when, in response to the Coronavirus Pandemic, Governor Whitmer closed

nearly every business in Michigan. While closed due to the Pandemic, a fire broke out

on July 29, 2020, and damaged the Property. YAT contracted with Moltus Building

Group to remediate the fire damage, remodel Showgirls, and reduce the Boutique

area. On January 22, 2021, Plaintiffs submitted a site plan of their proposed fire

repair and other work (the “Plan”) to the City in accordance with the City Ordinances

seeking a building permit to complete repairs and remodeling. The City’s Ordinances

require a decision within 65 days of submission; as of the date of this filing, 98 days

after the plan submission, Plaintiffs have not received a decision on its plan. Rather,

Plaintiffs have been informed that certain City officials have been told not to issue

permits for Plaintiffs’ Plan. The City’s actions violate Plaintiffs’ fundamental rights

under the First and Fourteenth Amendments of the United States Constitution.
                           JURISDICTION AND VENUE

      3.     Jurisdiction is conferred on this Court for the resolution of the

substantial constitutional questions presented here by virtue of 28 U.S.C. § 1331 and

28 U.S.C. § 1343(a)(1), (3)-(4), the latter of which provides, in pertinent part, that:

      district courts shall have original jurisdiction of any civil action
      authorized by law to be commenced by any person: . . . To redress the
      deprivation, under color of any State law, statute, ordinance, regulation,
      custom or usage, of any right, privilege or immunity secured by the
      Constitution of the United States or by any Act of Congress providing
      for equal rights of citizens or of all persons within the jurisdiction of the
      United States . . . .

      4.     To the extent that Plaintiffs assert any claim not within this Court’s

original jurisdiction, jurisdiction to hear said claim is conferred upon this Court

pursuant to this Court’s supplemental jurisdiction pursuant to 28 U.S.C. § 1367 as

such claim or claims share a common nucleus of operative facts such that they form




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part of the same case or controversy as Plaintiffs’ claims that invoke this Court’s

original jurisdiction.

      5.     Pursuant to City of Chicago v. Int'l Coll. of Surgeons, 522 U.S. 156

(1997), any decision Defendants render regarding Plaintiffs’ Plan, is reviewable by,

and jurisdiction to do so is conferred upon, this Court.

      6.     The statutory law which further authorizes the institution of this suit,

and in particular the damage claims asserted herein, is 42 U.S.C. § 1983 which

provides, in part, as follows:

      Every person who, under color of any statute, ordinance, regulation,
      custom or usage, or any State or Territory of the District of Columbia,
      subjects, or causes to be subjected, any citizen of the United States or
      other person within the jurisdiction thereof to the deprivation of any
      rights, privileges, or immunities secured by the Constitution and laws,
      shall be liable to the party injured in an action at law, suit in equity,
      or other proper proceeding for redress. . . .


      7.     The prayer for declaratory relief is founded in part on Rule 57 of the

Federal Rules of Civil Procedure as well as in 28 U.S.C. § 2201, the latter of which

provides that:

      . . . any court of the United States, upon the filing of an appropriate
      pleading, may declare the rights and other legal relations of any
      interested party seeking such declaration, whether or not further relief
      is or could be sought. . . .

      8.     The jurisdiction of the Court to grant injunctive relief is conferred upon

this Court by Rule 65 of the Federal Rules of Civil Procedure, and by 28 U.S.C. §

2202, the latter of which provides:

      Further necessary or proper relief on a declaratory judgment or decree
      may be granted, after reasonable notice and hearing, against any
      adverse party whose rights have been determined by such judgment.




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       9.     Federal question jurisdiction for the request for attorney fees and costs

is conferred by 42 U.S.C. § 1988.

       10.    This suit is authorized by law to redress deprivations of rights,

privileges, and immunities secured by the First and Fourteenth Amendments to the

United States Constitution made under the color of state law and for declaratory and

injunctive relief.

       11.    No other action, civil or criminal, is pending before any tribunal

involving the Plaintiffs regarding the activities and events here.

       12.    This suit is authorized to redress deprivations of rights, privileges, and

immunities secured by the First and Fourteenth Amendments to the United States

Constitution, and for declaratory and injunctive relief.

       13.    Pursuant to 28 U.S.C. § 1391, venue in this Court is proper because both

the Plaintiffs and Defendants reside in the Eastern District of Michigan; the injury

complained of and acts causing the injury have occurred and will continue to occur in

the Eastern District of Michigan; and the property and/or property interests that are

the subject of this action is/are situated in the Eastern District of Michigan.
                                      PARTIES

Plaintiffs

       14.    Plaintiff M.I.C. Limited (again, “MIC”) is a Michigan Corporation duly

organized and authorized to do business in the State of Michigan. MIC owns the real

property described as Parcel Number 11-11-40-484-001 in Washtenaw County;

commonly known as 29 - 33 N. Washington Street in Ypsilanti, Michigan (“the

Property”).

       15.    Plaintiff Ypsilanti Art Theatre Corp. (again, “YAT”) is a Michigan

Corporation duly organized and authorized to do business in the State of Michigan.

YAT does business as Deja Vu Showgirls Ypsilanti at 29 – 33 N. Washington Street

in Ypsilanti, Michigan.


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       16.    YAT is engaged in, among other things, the presentation of live female

performance dance entertainment to the consenting adult public. Such presentation

is protected speech and expression under the First Amendment of the United States

Constitution and is made applicable to the States through the Fourteenth

Amendment of the United States Constitution.

Defendants

       17.    Defendant City of Ypsilanti (again, the “City”) is an incorporated

municipality located within and chartered under the laws of the State of Michigan.

Defendant City is a home-rule city.

       18.    Defendant     City   of    Ypsilanti   Planning   Commission   (“Planning

Commission”) is a commission formed by the City pursuant to § 122-385, et seq., found

in Chapter 122, Article III, Division 7, Subdivision 1 of the Ypsilanti, Michigan Code

of Ordinances (the “City Ordinances”) as authorized by MCL § 125.3801 et seq. and

MCL § 125.3101 et seq. Pursuant to City Ordinances, § 122-307, Defendant Planning

Commission has the authority to approve or deny Plaintiffs’ building plans.

       19.    Defendant Andy Aamodt (“Aamodt”) is the City of Ypsilanti City

Planner. Defendant Aamodt has the power to review Plaintiffs’ building plans,
request additional data, and return the building plans without further process if such

materials are incomplete. Defendant Aamodt is sued in his official capacity only.

       20.    Defendant Joe Meyers (“Meyers”) is the City of Ypsilanti Director of

Economic Development. Defendant Meyers has the power to review Plaintiffs’ plans

and provide comment. Further, Defendant Meyers informed MIC, through its

contractor, that the City is not to issue permits for Plaintiffs’ plan. Defendant Meyers

is sued in his official capacity only.




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                    RELEVANT ORDINANCE PROVISIONS

      21.   A true and accurate copy of Chapter 122, Zoning, of the City of Ypsilanti,

Michigan Code of Ordinances (2021) (the “City Ordinances”), is attached hereto as

Exhibit A and is hereby incorporated by reference as though fully set forth herein.

      22.   The City’s Ordinances provides the following definition for “Adult

regulated uses”:

         Adult regulated uses. The following are classified as types of adult
      regulated uses.

         (1) Adult book or supply store means an establishment having 20
      percent or more of its stock in trade or its sales devoted to the
      distribution, display, or storage of books, magazines, and other
      periodicals and/or photographs, drawings, slides, films, video tapes,
      recording tapes, and/or novelty items which are distinguished or
      characterized by their emphasis on matters depicting, describing, or
      relating to specified sexual activities or specified anatomical areas. Such
      establishment or the segment or section devoted to the sale or display of
      such material in an establishment is customarily not open to the public
      generally but only to one or more classes of the public, excluding any
      minor by reason of age.

          (2) Adult mini-motion picture theater means an enclosed building
      with a capacity for less than 50 persons used for presenting material
      distinguished or characterized by an emphasis on matter depicting,
      describing or relating to specified sexual activities or specified
      anatomical areas, for observation by patrons therein. Such
      establishment is customarily not open to the public generally, but only
      to one or more classes of the public, excluding any minor by reason of
      age.

          (3) Adult motel/hotel means a building in which lodging is provided
      or offered to the public for compensation and which is open to transient
      guests where the room charge is made by the hour, and/or in which
      books, magazines and other periodicals or materials which are
      distinguished or characterized by their emphasis on matter depicting,
      describing or relating to specified sexual activities or specified
      anatomical areas, may be sold or rented, or where motion pictures or
      video tapes with an emphasis on specified sexual activities or specified
      anatomical areas are available for viewing on an in-room viewing screen
      or television monitor.

         (4) Adult motion picture theater or adult live stage performing
      theater means an enclosed building with a capacity of 50 or more persons
      used for presenting material distinguished or characterized by an
      emphasis on matter depicting, describing or relating to specified sexual
      activities or specified anatomical areas for observation by patrons
      therein. Such establishment is customarily not open to the public

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      generally, but only to one or more classes of the public, excluding any
      minor by reason of age.

          (5) Cabaret means an establishment which features any of the
      following: topless dancers and/or bottomless dancers, strippers, or
      topless and/or bottomless waitpersons or employees or any other form of
      nude or partially nude service or entertainment.

          (6) Massage parlor or massage establishment means a place where
      manipulated massage or manipulated exercises are practiced for pay
      upon the human body by anyone using mechanical, therapeutic, or
      bathing devices or techniques, other than the following: a duly licensed
      massage therapist, physician, osteopath, or chiropractor; a registered or
      practical nurse operating under a physician's directions; or, registered
      physical or occupational therapists or speech pathologists who treat
      patients referred by a licensed physician and operate only under such
      physician's direction. A massage establishment may include, but is not
      limited to, establishments commonly known as massage parlors, health
      spas, sauna baths, Turkish bathhouses, and steam baths. Massage
      establishments shall not include properly-licensed hospitals, offices of a
      duly licensed massage therapist, medical clinics, or nursing homes, or
      beauty salons or barbershops in which massages are administered only
      to the scalp, the face, the neck or the shoulders; or other establishments
      that offer massages performed by a duly licensed massage therapist.

         (7) Specified anatomical areas means portions of the human body
      defined as follows:

            (i) Less than completely and opaquely covered human genitals,
      pubic region, buttocks, or female breast below the point immediately
      above the top of the areola; and

            (ii) Human male genitals in a discernibly turgid state, even if
      completely and opaquely covered.

        (8) Specified sexual activities means the explicit display of one or
      more of the following:

            (i) Human genitals in a state of sexual stimulation or arousal.

            (ii) Acts of human masturbation, sexual intercourse, or sodomy.

            (iii) Fondling or other erotic touching of human genitals, pubic
      region, buttocks, or female breast.

City Ordinances, § 122.203 (2021).

      23.   The    City’s   Ordinances    provide    the   following    definition   of

“Nonconforming Use”:

      Nonconforming use means a use which was lawfully in existence at the
      effective date of the ordinance from which this chapter is derived, or

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      amendment thereto, and which does not now conform to the use
      regulations of this chapter for the zoning district in which it is now
      located. A nonconforming use may include a use that requires a special
      use permit under current regulations contained in this chapter, where
      under previous regulations a special use permit was not required or
      granted.

City Ordinances, § 122.203 (2021).
      24.   The City’s Ordinances provide the following regarding continuing a

nonconforming use:

      Any class B nonconforming use which existed lawfully at the time of the
      adoption of the ordinance from which this chapter derives and which
      remains nonconforming and any such use which becomes
      nonconforming upon the adoption of this article, or of any subsequent
      amendments thereto, may be continued, subject to the regulations in
      this article.

City Ordinances, § 122-346 (2021).

      25.   The City’s Ordinances provide the following in regard to expanding a

nonconforming use of a building as well as repairing damage to the same:

      (b) Expansion of class B nonconforming use.

         (1) The nonconforming use of any part of a building or structure
      must not be expanded or extended into any other portion of such
      building or structure.

         (2) No visible structural alteration must be made to the building or
      structure devoted to a nonconforming use, except repairs and
      maintenance work which are required to keep such building in sound
      condition or as required by law.

         (3) An existing structure containing a nonconforming use shall not
      be enlarged, constructed, reconstructed, moved or structurally altered
      or extended, unless the use is changed to a use which is permitted in
      the district in which the structure is located.

                                     *   *      *

         (d) Removal or destruction. If a building or structure in which a
      nonconforming use is being conducted is removed, destroyed, or
      severely damaged to the extent that the cost of restoration of the
      structure exceeds 100 percent of the state equalized value (SEV) or 50
      percent of a higher value established by the most recent appraisal of
      the structure exclusive of the foundation and land, the nonconforming
      use shall not be renewed, and any subsequent use of the premises must
      conform to the use regulations of the district in which the premises are
      located. . . .

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         For the purpose of calculating a fair and equitable cost of restoration
      regulated by this section, the average of two bid estimates from licensed
      contractors must be used. All work requiring permits under state and
      local regulations, and materials necessary to bring the structure up to
      current code must be included. Clean up costs, demolition, furnishings,
      appliances, and site work, i.e., landscaping, fencing, paving, shall not
      be included. The actual repair and reconstruction may be done by the
      owner or contractor of their choice.

City Ordinances, § 122-349(b) & (d) (2021).
      26.    For any construction activity in the City, the City’s Ordinances require

developers to submit plans of varying degrees of specificity to varying levels of the

City officials and boards depending on a number of factors including but not limited

to the type of activity, whether the activity is new construction or modification to an

existing structure, and whether the activity affects a Special Land Use.

      27.    “Adult regulated uses are special land uses.” City Ordinances, § 122-431

(2021).
      28.    The City’s Ordinances provide that “[e]xpansion or intensification of a

Special Land Use” requires a “Site” and plan review and a “review & recommend”

review from the City Planner to the Planning Commission. Ypsilanti, Michigan Code

of Ordinances, § 122-307. The Planning Commission is the approval authority for any

such plain. Id.

      29.    The City’s Ordinances provide that “[t]he city planner or planning

commission shall render a decision on a site plan within 65 days of its initial review

of the site plan unless an extension of time is agreed to by the city planner or planning

commission and the applicant.” City Ordinances, § 122-310(d) (2021). Once approved,

“[t]he building department shall, upon receipt of notice of approval from the planning

commission or city planner and upon application by the applicant, issue a building

permit provided all other applicable city regulations have been met.” Id. at § 122-312

(2021).




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                            GENERAL ALLEGATIONS

Historical Context and Events

      30.      MIC purchased the Property in the early 1980s. At that time, the

Property’s zoning permitted what is now classified as an adult regulated use.

      31.      YAT opened for business on the Property in late 1982 as an adult

theatre. In 1988, YAT, with permission from the City, ceased operating solely as an

adult theatre and converted to presenting live female dance performance

entertainment of substantially the same nature as YAT currently offers.

      32.      Sometime after 1988, the City amended its zoning ordinance. This

amendment changed the Property’s zoning to a classification that did not permit what

is now classified as an adult regulated use. As a result, pursuant to MCL § 125.3208

and City Ordinances, § 122-346, YAT’s use of the Property became a lawful

nonconforming use.

      33.      From 1988 to 2006, YAT’s use of the property included continuing to

present live female dance performance entertainment, which the City now regards as

the “Cabaret” type of adult use, but also included an adult-oriented novelty and book

store, which the City now regards as an “adult book or supply store” type of adult use,

and included several private film viewing booths, which the City now regards as an

“adult mini-motion picture theater” type of adult use.

      34.      The female performance dance entertainment, written materials, and

videos YAT offers to the consenting adult public are non-obscene and are

presumptively protected speech and expression under the First Amendment of the

United States Constitution.     YAT’s protected activities and materials appeal to

normal, healthy, sexual interests and desires, and are lawfully presented and

distributed in conformity with its various licenses, permits, and/or governmental

approvals, including, but not limited to, an annual Health Permit issued by the State

of Michigan.


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        35.   On or about January 20, 2006, YAT, through its architect, submitted

proposed floor plans to the City to modify the premises. Then, the Property was zoned

as B-3, which did not permit adult-oriented businesses. The City issued MIC a letter

dated February 13, 2006, indicating that YAT’s proposed floor plan called for the

expansion of the floor areas of each of the three types of non-conforming adult-

regulated use that YAT enjoys and disapproved YAT’s proposed floor plan.

        36.   A true and accurate copy of the City’s February 13, 2006, denial letter

is attached hereto as Exhibit B and is hereby incorporated by reference as though

fully set forth herein.

        37.   At some point in late 2009 or early 2010, Plaintiffs again requested

permission to remodel various portions of the Property. This time, however, a memo

from John R. Jackson to the Director of the City’s planning department that

determined YAT is “not adding any additional floor area nor [is YAT] replacing any

conforming use with any portion of the existing nonconforming use. As a result, the

proposed changes do not represent an expansion of the existing legal non-conforming

use.”

        38.   A true and accurate copy of the Jackson Memo is attached hereto as
Exhibit C and is hereby incorporated by reference as though fully set forth herein.

        39.   Currently, the Property is zoned Center (C), which does not permit an

adult regulated use as either a Permitted Use or a Special Use.

        40.   Since at least 1982, the Property has had a bathroom in the basement.

        41.   Since at least 1982, YAT’s employees and the entertainers who perform

on its premises have used the bathroom in the basement in both its latrine and

shower functions. The bathroom is not, and has not been, offered for use by the public.

        42.   In March of 2019, Plaintiffs, through their contractor, undertook to

repair a leaking pipe in the Property’s basement bathroom. Repairing the pipe

required removing the existing shower in the basement. During that removal, the


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shower broke. While these repairs were underway, a City inspector inspected the

property, noticed the construction occurring in the basement, and issued a stop work

order until Plaintiffs received permits for the work. On March 27, 2019, and April 2,

2019, the City issued an electrical permit and plumbing permit, respectively, for

Plaintiffs to complete the repairs.

      43.    Around that same time, YAT installed temporary partitions in an area

that was previously operating as part of the Boutique.

      44.    On or about December 13, 2019, MIC received correspondence from the

City of Ypsilanti indicating City staff observed an alleged illegal expansion of the

nonconforming use the Property currently enjoys; namely, the City alleged:

      The floor plan has been modified in such a manner that has relocated
      the dressing room to the basement floor, an area determined in previous
      floor plans as ‘currently basement is not used.’ Additionally, it appeared
      that new walls were constructed in the basement below the stage area.
      These overall changes to the floor plan are in violation of the City of
      Ypsilanti Zoning Ordinance § 122-349(b)(1) and § 122-349(b)(3).

      45.    A true and accurate copy of the December 13, 2019, letter from the City

of Ypsilanti to MIC is attached hereto as Exhibit D and is hereby incorporated by

reference as though fully set forth herein.

      46.    YAT’s nonconforming use of the Premises is classified as a Class B

nonconforming use pursuant to City Ordinances, § 122-349 because the Premises is

non-residential and “[o]nly multiple family dwellings and/or group residence uses in

R1, CN-SF, and CN-Mid shall be eligible for this [Class A] designation.” City

Ordinances, § 122-351 (clarification added).

      47.    YAT has never abandoned the nonconforming use of the Property, or any

part thereof, and plans to resume its constitutionally protected activities at the

Property as soon as possible and to the fullest extent possible.

      48.    On March 23, 2020, pursuant to Governor Whitmer’s public health

order, YAT closed for business and has remained closed since then.


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      49.    On July 29, 2020, a fire broke out on the Property and caused physical

damage to YAT’s office, which occupied a space near the front entrance and in the

area used as the Boutique, and to the front entrance. The fire also caused smoke

damage to additional areas of the building.

      50.    Seeking to repair the fire damage and using it as an opportunity to

remodel portions of the Property, MIC hired the Moltus Building Group (“Moltus”) to

complete the repairs to the premises as well as plan, design, and complete various

modifications to the Premise (the “Work”).

      51.    Aside from repairing the fire damage, the Work calls for moving the

entertainer dressing room from its current location into the southeast corner of the

current Boutique, establishing an entry control point near the front entrance (the

east entrance), and placing the VIP area in the existing entertainer dressing room

and a portion of the current Boutique.

      52.    The City has taken the position, contrary to the zoning provisions of the

City’s Ordinances, that part of one type of existing Adult Regulated Use replacing

any part of another existing Adult Regulated Use, in the same building, somehow

constitutes the expansion of the legal conforming Adult Regulated Use, even where
the total area used by the various types of Adult Regulated Use remains unchanged.

      53.    None of the Work would visibly alter the structure of the Premises.

      54.    On October 8, 2020, MIC received a “Clean Up Notice” from the City

based on “[t]rash in doorway on the east side of this property.” The notice identifies

“litter” to include, among others, “garbage,” “paper,” and “trash debris.”

      55.    A true and accurate copy of the October 8, 2020, Clean Up Notice MIC

received from the City is attached hereto as Exhibit E and is hereby incorporated by

reference as though fully set forth herein.

      56.    Average wind conditions in Ypsilanti, Michigan in October is between

10 and 11 MPH.


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      57.     The City’s Ordinances require a person wishing to remodel or repair a

building to submit a site plan to the City. See City Ordinance, § 122-305 et seq.

      58.     Neither Plaintiffs nor Moltus attended a pre-application conference as

outlined in the City Ordinances, § 122-310(a), because the Work is not new

construction; rather, it is modification and repair of an existing building.

      59.     The fair and equitable cost of repairing the fire damage to the Property

does not exceed 100 percent of the state equalized value of the property or 50 percent

of a higher value established by the most recent appraisal of the structure.

      60.     On January 22, 2021, an employee of Moltus, in accordance with

Subdivision I to Division 2 of Article III of Chapter 122 of the City Ordinances,

submitted a site plan (the “Plan”) for the Work that fully complied with § 122-309 of

the City Ordinances to the City Clerk.

      61.     A true and accurate copy of the Plan is attached hereto as Exhibit F

and is hereby incorporated by reference at though fully set forth herein.

      62.     Upon receipt of the Plan, the City Clerk stated the plan should be

reviewed with comments within a week.

      63.     The Plan, with YAT’s pre-existing nonconforming use conducted
therein, meets all of the application criteria contained in the City’s Ordinances, § 122-

311 and all other applicable regulations found in Chapter 122 of the City’s

Ordinances.

      64.     Seventeen days later, on Monday, February 8, 2021, a Moltus employee

called the City Clerk to inquire as to the progress of the City’s review of the Plan. The

City Clerk did not answer and the Moltus employee left a message.

      65.     Three days later, on Thursday, February 11, 2021, a Moltus employee

telephoned Kurt Weiland, a Building Official with the City’s Building Department.

Kurt Weiland did not answer the call and the Moltus employee left a voicemail that




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inquired as to the status of the Plan review and provided a direct contact number to

the Moltus employee.

      66.    A day later, on Friday, February 12, 2021, Moltus received a response

from Kurt Weiland via e-mail. Therein, Kurt informed Gary Wrubel from Moltus that

Kurt was not to review the Plan and any inquiries were to be addressed to Defendant

Meyer.

      67.    Later that day, Gary Wrubel from Moltus sent Defendant Meyers an e-

mail inquiring as to the status of the Plan review. A true and accurate copy of that e-

mail chain is attached hereto as Exhibit G and is hereby incorporated by reference

as though fully set forth herein.

      68.    Later that day, Defendant Meyers replied to Gary’s e-mail that “[w]e are

working with our attorney on many items as it pertains to 31 N. Washington. He has

indicated that for now we are not to issue permits on this site.” Exhibit H.

      69.    The City, by and through its Ordinances, placed the substantive

limitation of a decision on a site plan within 65 days from submission to the City on

the City Planner and Planning Commission; thereby, eliminating their discretion as

to how long they may consider a site plan submitted to the City by using the
mandatory language “shall render a decision,” City Ordinance, § 122-310(d), which

establishes the substantive predicate to govern the decision timeline of a site plan

submitted to the City.

      70.    Upon information and belief, the City has timely processed site plans

submitted to it within 65 days; including, having done so during the Pandemic.

Plaintiffs make this pleading based on the City’s “How to Apply for Permits with the

City of Ypsilanti during the COVID 19 Shutdown” guidance available on its website

here: https://cityofypsilanti.com/725/COVID-19. Therein, the City states: “Staff is

working remotely to administratively review permit applications” and that

“Applications that require approval from the Planning Commission (PC) or Zoning


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Board of Appeals (ZBA) will be reviewed by staff as received and prepared for the

next possible PC or ZBA meeting. Staff can send Zoning verification letters digitally.”

These statements demonstrate the City’s foresight in ensuring timely decisions are

made even during the Pandemic. Further, the fact that construction continues within

the City during the Pandemic evinces the fact that site plans are being reviewed and

permits are being issued even during the Pandemic. Plaintiffs believe specific

evidence of other entities which have submitted site plans to the City for review and

which the City has issued a decision within 65 days is yet within the possession,

custody, and control of the City.

      71.    A true and accurate copy of the City’s “How to Apply for Permits with

the City of Ypsilanti during the COVID 19 Shutdown” is attached hereto as Exhibit

I and is hereby incorporated by reference as though fully set forth herein.

      72.    As it pertains to the Plan, the Work, or the Property in general, neither

Plaintiffs nor Moltus is aware of any findings and recommendations completed or

submitted by the Department of Community and Economic Development pursuant to

City Ordinances, § 122-310(e).

      73.    As of the date of this filing, there has been no decision on Plaintiffs’ Plan,
nor has the City informed any Plaintiff of any such decision.

      74.    Plaintiffs are unable to appeal Defendants’ decision on their Plan

pursuant to City Ordinances, § 12-371 because no such decision has been made.

      75.    Neither Plaintiffs nor Moltus nor any employee thereof agreed to an

extension to the Plan’s review period. See City Ordinances, § 122-310(d).

      76.    Neither Plaintiffs nor Moltus nor any employee thereof has been advised

either verbally or in writing that the planning commission tabled consideration of the

Plan until a later meeting as required by the City Ordinances, § 122-310(c).

      77.    The Work would not expand YAT’s nonconforming adult regulated use

into another part of the Premises; rather, the Work would reduce the number of the


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types of Adult Regulated Use, thereby, reducing the intensity or degree of the

nonconforming use.

      78.    As a result of the City’s delay in reviewing the Plan, which, in turn, has

delayed issuing Plaintiffs a building permit, MIC has been unable to repair the fire

damage and YAT has been unable to open its constitutionally protected business.

      79.    Any decision on Plaintiffs’ Plan rendered by the Defendants would

ultimately come before this Court pursuant to City of Chicago v. Int'l Coll. of

Surgeons, 522 U.S. 156 (1997).
      80.    On March 19, 2021, with an effective date of March 22, 2021, the

Michigan Department of Health and Human Services (“MDHHS”) promulgated a new

public health order that would permit YAT to reopen but for the unrepaired fire

damage as a result of the delayed decision on Plaintiffs’ Plan and/or the issuance of a

building permit pursuant thereto.

      81.    A true and accurate copy of the March 19, 2021, MDHHS public health

order is attached hereto as Exhibit J and is hereby incorporated by reference as

though fully set forth herein.

                                 CAUSES OF ACTION

                                      COUNT I

     DEFENDANTS’ RETALIATORY ACTIONS AGAINST PLAINTIFFS

      VIOLATES THE FIRST AMENDMENT OF THE UNITED STATES

                                  CONSTITUTION

      82.    Plaintiffs incorporate herein by reference each and every paragraph

above as though fully set forth herein.

      83.    In bringing their First Amendment challenges to Defendants’ conduct,

Plaintiffs assert not only their own rights, but also the rights of their owners,

employees, entertainers who perform on the Property, and their patrons.




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       84.   Defendants’ conduct constitutes retaliation and is thus violative of the

First Amendment for numerous and various reasons including, but not limited to, the

fact that:

             a.     YAT’s    presentation    of   live   female   performance    dance

       entertainment is presumptively protected by the First Amendment;

             b.     based on a disdain or animus towards the expressive conduct YAT

       presents, Defendants have undertaken to unreasonably, unnecessarily, and in

       violation of City Ordinances, delay rendering a decision on Plaintiffs’ Plan;

             c.     Defendants, through the City Ordinances, have the power to

       substantially affect Plaintiffs’ ability to do business. Their roles in reviewing

       the Plan, authorizing, and issuing building permits can be, and have been,

       used to silence unwanted speech and expression—Plaintiffs’ included—as well

       as provide significant financial hardship to lawfully operating businesses by

       delaying review of the Plan thereby preventing YAT from reopening and MIC

       from repairing its damaged real property;

             d.     since at least July 29, 2019, Defendants have used Plaintiffs’

       necessity of a building permit to repair the fire damage to the Property as a
       tool to prevent YAT from presenting its constitutionally protected

       entertainment at the Property;

             e.     upon information and belief, Defendants have rendered decisions

       on other site plans submitted to it for review by other businesses during the

       Pandemic, but have refused to do so on Plaintiff’s Plan based on a disdain for

       YAT’s speech and expression;

             f.     in an effort, to further silence YAT’s constitutionally protected

       speech and expression and in direct contradiction to City actions in late 2009

       or early 2010, Defendants, through letters and various in-person and

       telephonic conversations with Plaintiffs and/or their agents, have maintained


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     that reducing the Boutique’s square footage inside the Property and using that

     space as a Cabaret constitutes an expansion of the Property’s non-conforming

     use when, in reality, such actions reduce the number of types of adult regulated

     use at the Property, which, in turn, reduces the intensity or degree of a

     nonconforming use. Therefore, Plaintiffs’ Plan cannot be said to be an

     expansion of a nonconforming use;

           g.     in further effort to silence YAT’s constitutionally protected speech

     and expression, Defendants have purposefully conflated the various types of

     adult regulated use outlined in the City Ordinances as different adult uses so

     as to support their claim that modification of the square footage the Cabaret

     and Boutique occupy inside the Property constitutes an expansion of a

     nonconforming use when, in reality, Plaintiffs are exchanging one type of adult

     regulated use for another inside the same building—as it has done in the past

     without objection from Defendants;

           h.     Defendants have sought to use the dictates of the City’s Zoning

     Ordinances to either outright prevent YAT from presenting its constitutionally

     protected entertainment or significantly stymie YAT’s efforts to reopen or to
     bully YAT into self-censorship while ignoring the requirements the City’s

     Zoning Ordinances place upon Defendants; and

           i.     Defendants, via e-mail, stated “for now we [the City] are not to

     issue permits for this [the Property] site” because the Department of Economic

     Development was “working with our attorney on many items as it pertains” to

     the Property; none of which has anything to do with providing a timely decision

     on Plaintiffs’ Plan; rather, such efforts are merely delay tactics on reviewing

     Plaintiffs’ Plan so as to prevent YAT from reopening for as long as possible in

     hopes of driving YAT out of business based on Defendants’ disdain for YAT’s

     presentation of protected speech and expression.


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      85.    As a direct and proximate result of the Defendants’ unconstitutional

actions, Plaintiffs, their interests; owners; employees; entertainers who perform on

the Property; and patrons have incurred and suffered and will continue to suffer

significant substantial and irreparable damages including, but not limited to, the

inability to present, view, or associate with First Amendment protected

entertainment, as well as damage reputation, damage to goodwill, and lost profits.

      86.    Under this Cause of Action, Plaintiffs seek nominal, compensatory,

special, and punitive damages against the Defendants for their violations of the

constitutional rights of Plaintiffs, YAT’s employees, the entertainers who perform at

the Property, and YAT’s patrons.

      87.    Further compounding the irreparable harm brought by the City upon

Plaintiffs, due to financial circumstances and constraints as a result of the Pandemic,

Defendants would be unable to make Plaintiffs whole through the actual payment of

money damages or just compensation thereby causing even monetary harm to

effectively be irreparable harm.
                                     COUNT II

      VIOLATION OF CIVIL RIGHTS CONTRARY TO 42 U.S.C. § 1983

      88.    Plaintiffs incorporate herein by reference each and every paragraph

above as though fully set forth herein.

      89.    Plaintiffs allege that Defendants violated Plaintiffs’ First and

Fourteenth Amendment rights in violation of 42 U.S.C. § 1983 in numerous and

various ways including, but not limited to, by:

             a.     failing to render a decision on Plaintiffs’ Plan within 65 days as

      required by City Ordinance, § 122-310(d), thereby denying Plaintiffs due

      process of law, both procedural and substantive;

             b.     failing to notify Plaintiffs in any manner or through any medium,

      let alone in writing, of Defendant Planning Commission’s decision to table


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     consideration of Plaintiffs’ Plan until a later meeting as required by City

     Ordinance, § 122-310(c), thereby denying Plaintiffs due process of law, both

     procedural and substantive;

           c.       infringing upon Plaintiffs’ liberty interest created by City

     Ordinance § 122-310(d) in a timely decision from the Planning Commission on

     its Plan, thereby denying Plaintiffs due process of law, both procedural and

     substantive;

           d.       unlawfully delaying the review of Plaintiffs’ Plan beyond what is

     required by City Ordinance § 122-310 without due process of law, both

     procedural and substantive;

           e.       unlawfully delaying the review of Plaintiffs’ Plan based on

     disagreement with or disdain for YAT’s First Amendment protected speech and

     expression;

           f.       unlawfully delaying the review of Plaintiffs’ Plan based on

     disagreement with or disdain for those wishing to associate with YAT’s First

     Amendment protected speech and expression;

           g.       unlawfully delaying the review of Plaintiffs’ Plan with the intent
     to injure Plaintiffs through, among others, forcing the loss of the Property’s

     nonconforming use status, silencing Plaintiffs’ protected speech and

     expression, and/or keeping YAT’s business closed so as to drive it out of

     business;

           h.       unlawfully targeting Plaintiffs and delaying their Plan based on

     animus towards YAT’s protected expression;

           i.       unlawfully forcing the work stoppage of the bathroom repairs

     based on animus toward YAT’s protected expression predicated on an

     erroneous reading of the City Ordinances and of YAT’s historical use of the

     basement bathroom; and


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                j.    unlawfully delaying the review of Plaintiffs’ Plan and otherwise

      delaying or blocking the Work based on animus toward YAT’s protected

      expression predicated on an erroneous reading of the City Ordinances.

      90.       Defendants actions, described above, in delaying review of Plaintiffs’

Plan, were taken in the course and scope of their official duties and under the color

of state law.

      91.       As a direct and proximate result of Defendants’ unconstitutional actions,

Plaintiffs have incurred and suffered and will continue to suffer significant

substantial and irreparable damages including, but not limited to, the loss of

constitutional rights; lost business profits; loss of goodwill and reputation; the

inability to present and/or associate with protected First Amendment entertainment;

and having to incur costs and attorneys’ fees in seeking protection of their

constitutional rights asserted herein.

      92.       Under this Cause of Action, Plaintiffs seek nominal, compensatory,

special, and punitive damages against the Defendants for their violations of the

constitutional rights of Plaintiffs, YAT’s employees, the entertainers who perform on

the Property, and YAT’s patrons.
      93.       Further compounding irreparable harm, due to financial circumstances

and constraints as a result of the Pandemic, Defendants would be unable to make

Plaintiffs whole through the actual payment of money damages or just compensation

thereby causing even monetary harm to effectively be irreparable harm.

                                PRAYER FOR RELIEF

      WHEREFORE, for the foregoing reasons, Plaintiffs respectfully requests this

Honorable Court enter judgment against the Defendants, which would include:

      A.        Entry of orders granting a Preliminary and Permanent Injunction

pursuant to Fed. R. Civ. P. 65 and 28 U.S.C. § 2202 enjoining Defendants, including

their officers, employees, agents, representatives, and any and all persons acting by,


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through, for, or on behalf of the Defendants, from further delaying a decision on

Plaintiffs’ Plan;

       B.     A declaration that Defendants’ delaying a decision on Plaintiffs’ Plan

was contrary to Plaintiffs’ rights under the First and Fourteenth Amendments to the

United States Constitution;

       C.     A declaration that the different types of adult regulated use listed in the

City Ordinances, § 122-203 that YAT conducted on the Property do not constitute

separate nonconforming uses but are, rather, types of the same nonconforming use;

       D.     A declaration that YAT’s conduct on the Property is entitled to continued

nonconforming use status regardless of the type of adult regulated use occurring

thereat;

       E.     A declaration that, pursuant to 42 U.S.C. § 1983, Defendant City is

liable to Plaintiffs for the damages caused by the delay in reviewing Plaintiffs’ Plan;

       F.     Entry of an award of money damages in favor of Plaintiffs in an amount

to be determined by the jury;

       G.     Entry of an award of nominal damages in favor of Plaintiffs;

       H.     Entry of an award of punitive damages in favor of Plaintiffs in an
amount to be determined by the jury;

       I.     Entry of an award of attorneys’ fees and costs incurred herein pursuant

to 42 U.S.C. § 1988 in favor of Plaintiffs; and

       J.     Such other and further relief as the Court deems just and proper.


                                                  Respectfully Submitted,


Dated: April 30, 2021                                   /s/ Matthew J. Hoffer
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                                               M.I.C. Limited Inc.

                                               *Application       for       Admission
                                               Forthcoming



                                 JURY DEMAND

      Plaintiffs hereby demand a trial by jury on all issues so triable.


                                               Respectfully Submitted,


Dated: April 30, 2021                                /s/ Matthew J. Hoffer
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